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EXHIBIT “B”
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                                                                                                                         Tiki Brown
                                                                                                                Clerk of State Court
                                  IN THE STATE COURT OF CLAYTON COUNTY                                     Clayton County, Georgia
                                                                                                                    Deanna Riggins
                                             STATE OF GEORGIA

              BRITTANY STEWART AND JESSICA
              FOSTER
                                                                    CIVIL ACTION FILE
                                                  Plaintiff,                 2021CV01671
                                                                    NO. ______________________________
              vs.                                                   (SERVED WITH DISCOVERY)
              GABRIEL DIOTTE, TRANSBY INC.,
              INTACT SERVICES USA LLC D/B/A
              ONE BEACON SERVICES, LLC, XYZ
              CORPORATION 1-2, AND
              JOHN DOES 1-2,
                                              Defendants.           JURY TRIAL DEMANDED

                                                      COMPLAINT

                    COMES NOW, Plaintiffs Brittany Stewart and Jessica Foster (hereinafter referred to as

             “Plaintiffs”) in the above-styled action, by and through undersigned counsel, and file this

             Complaint against Defendants Gabriel Diotte, Transby Inc., Intact Services USA LLC D/B/A

             One Beacon Services, LLC, XYZ Corporations 1-2, and John Doe 1-2, showing this Court

             Honorable as follows:

                                          PARTIES, JURISDICTION, & VENUE

                                                               1.

                    At all times relevant hereto, Defendant Gabriel Diotte (hereinafter referred to as

             “Defendant Diotte”) is a “non-resident motorist” as that term is defined under O.C.G.A. § 40-12-

             1, et seq., and, therefore, may be served with summons and process per a Hague Service Request

             pursuant to a USM-94, Request for Service Abroad of Judicial or Extrajudicial Documents.

             Jurisdiction and venue are appropriate in this Court as to Defendant as the accident caused by

             Defendant occurred in Clayton County, Georgia.




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                                                              2.

                    Defendant Transby, Inc. (“Defendant Transby”) is a foreign Canadian based company

             authorized to conduct business in the State of Georgia and is subject to the jurisdiction of this

             Court. Being a foreign corporation with no confirmed registered agent nor principal place of

             business located in the United Stated, Transby may be served with summons and process per a

             Hague Service Request pursuant to a USM-94, Request for Service Abroad of Judicial or

             Extrajudicial Documents. Jurisdiction and venue are appropriate in this Court as to Defendant

             Transby.

                                                              3.

                    At the time of the subject collision, Intact Services USA LLC D/B/A One Beacon Services,

             LLC (“Defendant Insurance”) provided coverage liability insurance under policy number 67362.

             Said policy was in effect on August 5, 2019. Defendant Insurance is subject to suit by direct action

             pursuant to the provisions of O.C.G.A. §§ 40-1-112 and 40-2-140. Service may be made upon

             Defendant Insurance’s registered agent, Corporation Service Company, at 2 Sun Court, Suite 400,

             Peachtree Corners, GA 30092. Jurisdiction and venue are appropriate in this Court as to Defendant

             Insurance.

                                                              4.

                    Should it be determined that another corporation or entity owned, operated, and/or

             controlled said premises at the time of the subject incident, Plaintiff hereby names Defendants

             XYZ CORPORATION 1-3. The identity of Defendants XYZ CORPORATION 1-3 is presently

             unknown.




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                                                                  5.

                    Should it be determined that another person was the at fault party, Plaintiffs hereby name

             Defendants John Doe 1-2. The identity of Defendants John Doe 1-3 is presently unknown. The

             insurance company of John Doe 1-2’s vehicle is unknown. Venue is appropriate in this Court. The

             insurance company of John Doe 1-2’s vehicle is unknown and therefore, Plaintiffs’ uninsured

             motorist insurance, Travelers Property Casualty Insurance Company, may be served with

             summons and process on behalf of John Doe 1-2 by serving its registered agent, Corporation

             Service Company at 2 Sun Court, Suite 400, Peachtree Corners, Georgia 30092, and is subject to

             the jurisdiction of this Court. Venue is appropriate in this Court.



                                                            FACTS

                                                                  6.

                    On or about August 5, 2019, Plaintiffs were traveling southbound on State Route 85, near

             Point South Parkway in Jonesboro, Georgia, when they were suddenly struck by Defendant

             Diotte’s vehicle.

                                                                  7.

                    At the same time and place, Defendant Diotte was traveling southbound on State Route 85

             near Point South Parkway, when he improperly switched lanes and struck Plaintiffs’ vehicle. The

             force of the impact caused injuries to Plaintiffs.

                                                                  8.

                    At the time and place of the subject collision, Defendant Diotte was operating the 2012

             Freightliner Conv Coronado 132, on behalf Transby, Inc. and under the scope of Transby Inc’s

             employment.




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                                                             9.

                    As a direct and proximate result of Defendant Diotte’s and Transby, Inc’s negligence,

             Plaintiffs have incurred special damages which include but may not be limited to past and future

             medical expenses, lost wages, loss of income, mileage, and other miscellaneous expenses.

             Specifically, Plaintiff Jessica Foster has incurred approximately $6,552.80 in medical expenses to

             date. Plaintiff Brittany Stewart has incurred approximately $53,131.72 in medical expenses to date.

                                                            10.

                    As a direct and proximate result of Defendant Doitte’s and Transby Inc’s negligence,

             Plaintiffs have incurred general damages, including pain and suffering, loss of ability to labor,

             mental anguish, and emotional distress.

                                        NEGLIGENCE OF DEFENDANT DOITTE

                                                            11.

                    Defendant Doitte negligently caused the subject collision when he negligently switched

             lanes and collided into Plaintiffs’ vehicle, which resulted in physical injuries to Plaintiffs and

             property damage to Plaintiffs’ vehicle.

                                                            12.

                    Defendant Doitte’s negligent acts and/or omissions include, but are not limited to, the

             following:

                    (A)     Operating a motor vehicle recklessly and without due and proper regard for the

             safety of persons or property in violation of O.C.G.A. § 40-6-390, which is negligence per se;

                    (B)     Operating a vehicle in violation of O.C.G.A. § 40-6-241 by failing to exercise due

             care in the operation of the vehicle;

                    (C)     Negligently changing lanes without a signal of intention of O.C.G.A. § 40-6-123;




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                       (D)    With knowledge of the conditions present, failing to exercise ordinary care by not

             keeping attention on the roadway and by not keeping the vehicle under control so as to stop or

             take evasive maneuvers to avoid the collision.

                                                               13.

                       Defendant’s negligence and violation of Georgia’s motor vehicle laws constituted

             negligence as a matter of law and negligence per se, including but not limited to, O.C.G.A. § 40-

             6-391 and O.C.G.A. § 40-6-123.

                                        VICARIOUS LIABILITY OF TRANSBY, INC.

                                                               14.

                       Plaintiffs incorporate by reference, paragraphs 1 through 13 of their Complaint as if re-

             stated herein.

                                                               15.

                       Transby, Inc. is vicariously liable for the negligent acts and/or omissions of Defendant

             Doitte under the doctrine of respondeat superior.

                                                               16.

                       As a direct and proximate result of Defendant Doitte’s negligence, Plaintiffs have incurred

             special damages, which include but may not be limited to, past and future medical expenses, lost

             wages, loss of income, mileage, and other miscellaneous expenses for which Transby, Inc. is

             vicariously liable.

                                                NEGLIGENT ENTRUSTMENT

                                                               17.

                       Plaintiffs incorporate by reference, paragraphs 1 through 16 of the Complaint as if re-stated

             herein.




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                                                             18.

                    At the time of the subject collision, Transby, Inc. owned or leased the 2012 Freightliner

             Conv Coronado 132 operated by Defendant Doitte with the approval, knowledge, consent, and/or

             authorization of Transby, Inc.

                                                             19.

                    At the time of the subject collision, Defendant Doitte was unqualified, unfit, incompetent,

             and/or a habitually reckless driver, and should not have been permitted to operate the 2012

             Freightliner Conv Coronado 132 involved in the subject collision.

                                                             20.

                    At the time of the subject collision, Transby, Inc. negligently entrusted its Freightliner

             Conv Coronado 132 to Defendant Doitte with the knowledge that Doitte was unqualified, unfit,

             incompetent, and/or a habitually reckless driver.

                                                             21.

                    As a direct and proximate result of Transby, Inc.’s negligent entrustment and Defendant

             Doitte’s negligence, Plaintiffs have incurred special damages, which include but may not be

             limited to, past and future medical expenses, lost wages, loss of income, mileage, and other

             miscellaneous expenses for which Transby, Inc. is vicariously liable.

                                                             22.

                    As a direct and proximate result of Transby, Inc.’s negligent entrustment and Defendant

             Doitte’s negligence, Plaintiffs have incurred general damages, including pain and suffering, loss

             of ability to labor, mental anguish, and emotional distress.




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                                                ATTORNEY FEES & EXPENSES

                                                               23.

                     Plaintiffs incorporate by reference, paragraphs 1 through 22 of their Complaint as if re-

             stated herein.

                                                               24.

                     Defendants’ actions evidence a species of bad faith, were and are stubbornly litigious, and

             have caused Plaintiff undue expense. Thus, Plaintiffs are entitled to recover their necessary

             expenses of litigation, including an award of reasonable attorney’s fees and expenses required by

             this action, pursuant to O.C.G.A. § 13-6-11, as well as any other statutory or common law basis.

                                                               25.

                     As such, Plaintiffs are entitled to recovery of his reasonable attorney’s fees and the

             expenses of litigation pursuant to O.C.G.A. § 13-6-11.

                     WHEREFORE, Plaintiffs pray this Court enter judgement against Defendants and grant

             Plaintiffs the following relief:

                     (A)      That process be issued;

                     (B)      Award Plaintiffs compensatory damages for past, present and future general and

                              special damages;

                     (C)      Award Plaintiffs a recovery of attorney’s fees and expenses of litigation; and

                     (D)      Such further relief as the Court deems just and proper.



                     Respectfully submitted, this 23rd day of July, 2021.




                                                 Signature of the following page.




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                                                                THE FRY LAW FIRM

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